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PS 8C
(05/08)                                                                                       June 3, 2020
                               UNITED STATES DISTRICT COURT
                                         FOR THE
                             SOUTHERN DISTRICT OF CALIFORNIA

                       Petition for Summons for Defendant on Pretrial Release


Name of Defendant: Mecca Madeina Swinton (English)                         Dkt No.: 3:19-cr-00712-BAS-1

Reg. No.: 73775-298

Name of Judicial Officer: The Honorable Cynthia Bashant, U.S. District Judge (matter referred to the
Honorable Jill L. Burkhardt, U.S. Magistrate Judge)

Date Conditions Ordered: February 5, 2019, before the Honorable Jill L. Burkhardt, U.S. Magistrate
Judge

Charged Offense: Title 8; U.S.C. 1324(a)(2)(B)(iii) - Bringing in Aliens Without Presentation

Conditions of Release: Mandatory Conditions - must not violate federal, state, or local law during period
of release. Standard Conditions - must appear in court as ordered and surrender as directed to serve any
sentence; must not possess or attempt to possess a firearm, destructive, device, or other dangerous weapon;
must not use or possess a narcotic drug or other controlled substance without a lawful medical prescription;
must not use or possess marijuana under any circumstances; must report to the U.S. Pretrial Services Office
on the day of the initial court appearance or within 24 hours of release from custody, whichever is later;
must report as directed by the Pretrial Services Office and follow all directions of the Pretrial Services
Office; must advise the Court or the Pretrial Services Office in writing of current residence address and
phone number when first reporting to Pretrial Services and any new contact information before making any
change of residence or phone number; travel is restricted to San Diego County; must not enter Mexico.
Additional Conditions - must reside at a residence approved by the Pretrial Services Office, including any
contract facility; must submit to drug/alcohol testing no more than six times per month and/or outpatient
substance abuse therapy and counseling, as directed by the Pretrial Services Office.

Modification: On May 8, 2019, your Honor modified the defendant’s conditions of release and the
defendant was permitted to travel to Mexico for one single day trip.

On August 9, 2019, your Honor modified the defendant’s conditions of release and the defendant was
permitted to travel to Mexico for one single day trip.

On September 6, 2019, your Honor modified the defendant’s conditions of release and the defendant was
permitted to travel to Mexico from September 6, 2019 to September 9, 2019.

Date Released on Bond: March 12, 2019
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Next Court Hearing: August 10, 2020, for a Sentencing Hearing before the Honorable Cynthia Bashant,
U.S. District Judge

Asst. U.S. Atty.: Shital Thakkar                 Defense Counsel: Eric Studebaker Fish (Appointed)
                 (619) 546-8785                                   (619) 234-8467

Prior Violation History: On September 10, 2019, the defendant submitted a urine sample which screened
positive for amphetamines. On September 12, 2019, Ms. Swinton denied using any illegal substances and
the urine sample was sent for confirmation. On September 24, 2019, the sample confirmed positive for
methamphetamine.

On September 25, 2019, Ms. Swinton denied using methamphetamine, but admitted she may have taken
a pill or used an illegal substance while intoxicated. She was admonished and agreed to particiapte in
outpatient drug treatment. On September 27, 2019, your Honor agreed to hold action in abeyance.

On September 30, 2019, October 1, 2019, and October 7, 2019, the defendant submitted urine samples and
all samples screened positive for amphetamine. On October 7, 2019, Ms. Swinton reported she was feeling
overwhelmed regarding her underlying case. She further explained she began drinking heavily which
resulted in her accepting medication from a friend. Ms. Swinton reported for the past month she had been
taking Desoxyn, which is not prescribed to her. On that same date, the undersigned contacted the National
Laboratory and confirmed Desoxyn would result in the detection of methamphetamine in a urine samples.

On October 8, 2019, your Honor agreed to issues a no bail bench warrant.

On October 10, 2019, Ms. Swinton appeared before your Honor for a Bond Revocation Hearing. The
defendant admitted to the allegations of using a controlled substance prior to her urine collection on
September 10, 2019, and using medication not prescribed to her on September 30, 2019, October 1, 2019,
and October 7, 2019. The Court ordered Ms. Swinton to enter and complete an inpatient residential
treatment program.

On October 15, 2019, Ms. Swinton entered Crash, a residential treatment program. She successfully
completed the program on January 13, 2020.
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                                      PETITIONING THE COURT

TO SUMMON THE DEFENDANT TO APPEAR IN COURT AND ADDRESS THE
ALLEGATION:

The Pretrial Services officer believes that the defendant has violated the following condition of pretrial
release:

CONDITION(S)                                    ALLEGATION(S) OF NONCOMPLIANCE

(Standard Condition)
Must not violate federal, state, or local law   1.    On June 1, 2020, the defendant was arrested for
during period of release.                             driving while under the influence of an alcoholic
                                                      beverage - PC 23152(A); misdemeanor.

Grounds for Revocation:
On June 1, 2020, at approximately 11:45 a.m, the undersigned received a phone call from Officer Gregory
with the San Diego Police Department (SDPD). She advised Ms. Swinton was under arrest for driving
under the influence which resulted in a collision. Officer Gregory advised Ms. Swinton would not be
booked into county jail and would be released and required to appear in court at a later date.

On June 2, 2020, the undersigned received a copy of the SDPD arrest report - report number 20028242.1.
According to the police report, Officer Gregory and Officer Jackson-Bryant responded to a report of
collision in the area of 49th Street and Federal Blvd. Upon arrival, Officer Gregory noted two vehicles that
had significant damage. She further noted that the driver of a dark sedan, later identified as the defendant
was transported to Scripps Mercy, and the driver of the second vehicle was transported to Alvarado
Hospital for shoulder and neck pain.

The officers arrived at Scripps Mercy to conduct an interview with Ms. Swinton. Hospital staff noted the
defendant had been drinking alcohol and was very loud and rude to staff. Ms. Swinton identified herself
to officers and agreed to be interviewed. Officer Gregory noted the defendant had bloodshot eyes and
smelled strongly of alcohol. Ms. Swinton informed officers that she was involved in the collision and had
rear ended another vehicle. The defendant was asked if she consumed alcohol and Ms. Swinton advised
she drank “Paul Mason,” which is a type of brandy. She informed officers she began drinking between
8:00 and 9:00 a.m. and had consumed she drank about 1/4 of the bottle. Ms. Swinton advised she last
consumed alcohol at 10:00 a.m., and believed it to be around 30 minutes prior to her involvement in the
collision. The defendant advised she did not feel the effects of the alcohol.

Officer Gregory attempted to evaluate Ms. Swinton’s eyes, but she refused to follow instructions. Officer
Gregory then placed the defendant under arrest for driving under the influence of an alcoholic beverage.
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Ms. Swinton agreed to provide a blood sample. At approximately 12:31 p.m., a phlebotomist withdrew two
vials of blood from Ms. Swinton. Officer Gregory impounded the blood samples. Officer Gregory also
confiscated the defendant’s driver’s license and was given a form indicating her license was temporarily
suspended.

Medical staff advised Officer Gregory that Ms. Swinton would need to undergo a CT scan. Officer
Gregory subsequently released Ms. Swinton at the hospital to undergo further medical treatment. As of the
writing of this report no information has been received Ms. Swinton’s court date regarding the arrest.

SUPERVISION ADJUSTMENT
The defendant began pretrial supervision on March 12, 2019. During that time, she has admitted to using
illegal substances, but to her credit she entered and successfully completed inpatient treatment in January
2020. Although Ms. Swinton successfully completed treatment and had been abiding by her conditions of
release, there are concerns about her alcohol consumption and arrest for driving under the influence. Given
this information, our office views her adjustment to supervision as poor.

Criminal computerized record checks conducted on June 2, 2020, reveal no information regarding the
arrest or outstanding warrants.

RECOMMENDATION/JUSTIFICATION
In light of the aforementioned, Pretrial Services respectfully recommends your Honor order the defendant
to appear on June 9th , 2020, at 9:00 a.m. to show cause as to why her bond should not be revoked. The
defendant has violated her conditions of release and was arrested for driving under the influence of an
alcoholic beverage.


  I declare under penalty of perjury that the
  foregoing is true and correct.

  Executed on: June 3, 2020

   Respectfully submitted:                               Reviewed and approved:
   LORI A. GAROFALO
   CHIEF PRETRIAL SERVICES OFFICER


   by
          Allie Zekan                                    Kim Hazard
          U.S. Pretrial Services Officer                 Supervising U.S. Pretrial Services Officer
          (619) 557-2990
          Place: San Diego, California
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THE COURT ORDERS:

    X      AGREE, cite the defendant to appear on June 9th , 2020, at 9:00 a.m., so she may show cause
           why her bond should not be revoked.

           Other




                                                                              6/4/20
The Honorable Jill L. Burkhardt                                            Date
U.S. Magistrate Judge
